                       EXHIBIT C




Case 3:23-cv-00431   Document 267-3   Filed 11/06/24   Page 1 of 3 PageID #: 4838
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Subject:            Allergan, et al. v. Revance (M.D. Tenn.): 2024.09.30 Allergan Production Vol. ALGN-MOB_028
Date:               Tuesday, October 1, 2024 12:42:28 AM



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Case 3:23-cv-00431                             Document 267-3                             Filed 11/06/24               Page 2 of 3 PageID #: 4839
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Case 3:23-cv-00431   Document 267-3   Filed 11/06/24   Page 3 of 3 PageID #: 4840
